Case 2:21-cv-06320-MCS-JC Document 123 Filed 01/03/22 Page 1 of 2 Page ID #:1040

                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                                                   CASE NUMBER:


   MOSAFER INC., et al.                                              2:21−cv−06320−MCS−JC
                                                   Plaintiff(s),

            v.
   ELLIOTT BROIDY, et al.
                                                                     NOTICE TO FILER OF DEFICIENCIES IN
                                                 Defendant(s).       ELECTRONICALLY FILED DOCUMENTS




   PLEASE TAKE NOTICE:

   The following problem(s) have been found with your electronically filed document:

   Date Filed:         12/31/2021
   Document Number(s):                121, 122
   Title of Document(s):             Proof of Service (subsequent documents)
   ERROR(S) WITH DOCUMENT:

   Incorrect event selected. Correct event to be used is: Service of summons and complaint returned executed 21
   days

   pdf documents are regarding service of summons and counterclaim by mail. Therefore the correct event was
   cited above. Due to incorrect event, missing information which the correct event prompts filer to include, such
   as: statute, type of service, who accepted service as well has date.




   Other:

   Note: To assist in a search for correct events, please use the "SEARCH" option for a "key word" to narrow the
   selection process
   Note: In response to this notice, the Court may: 1) order an amended or corrected document to be filed; 2) order the
   document stricken; or 3) take other action as the Court deems appropriate. You need not take any action in response to this
   notice unless and until the Court directs you to do so.


                                                   Clerk, U.S. District Court

   Dated: January 3, 2022                          By: /s/ Linda Chai Linda_Chai@cacd.uscourts.gov
                                                      Deputy Clerk


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Case 2:21-cv-06320-MCS-JC Document 123 Filed 01/03/22 Page 2 of 2 Page ID #:1041
   cc: Assigned District Judge and/or Magistrate Judge

       Please refer to the Court’s website at www.cacd.uscourts.gov for Local Rules, General Orders, and applicable forms.




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